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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-0088V
                                          UNPUBLISHED


    TERRA FIGUEIREDO,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: September 1, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Shoulder
                         Respondent.                            Injury Related to Vaccine
                                                                Administration (SIRVA)


John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Naseem Kourosh, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On January 5, 2021, Terra Figueiredo filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration (“SIRVA”), a defined Table Injury, after receiving the tetanus, diphtheria,
acellular pertussis (“Tdap”) vaccine on November 10, 2019. Petition at 1, ¶¶ 1, 6. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

      On June 16, 2022, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for her SIRVA. On September 1, 2022, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $81,193.04,
representing compensation in the amounts of $80,000.00 for her pain and suffering and

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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$1,193.04 for her past unreimbursed expenses. Proffer at 1. In the Proffer, Respondent
represented that Petitioner agrees with the proffered award. Id. Based on the record as a
whole, I find that Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $81,193.04, representing compensation in the amounts of
$80,000.00 for her pain and suffering and $1,193.04 for her actual unreimbursable
expenses in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS


TERRA FIGUEIREDO,

                       Petitioner,
                                                            No. 21-88V (ECF)
v.
                                                            Chief Special Master Corcoran
SECRETARY OF HEALTH
AND HUMAN SERVICES,

                       Respondent.


              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

        On January 5, 2021, Terra Figueiredo (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (2018)

(the “Vaccine Act”). Petitioner alleged that she suffered a left-sided shoulder injury related to

vaccine administration as a result of a tetanus-diphtheria-acellular pertussis vaccine. ECF No. 1

(Petition) at 1.

        On June 13, 2022, respondent filed a report conceding that compensation under the

Vaccine Act is appropriate in this case. ECF No. 28.

        On June 16, 2022, the Chief Special Master issued a Ruling on Entitlement, finding that

petitioner is entitled to compensation. ECF No. 29. On the same date, the Chief Special Master

issued a Damages Order. ECF No. 30.

I.      Items of Compensation

        Based upon the evidence of record, respondent proffers that petitioner should be awarded

$81,193.04, consisting of $80,000.00 for pain and suffering and $1,193.04 for past unreimbursed

expenses, which represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.
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    II.    Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner be made through a lump

sum payment as described below and requests that the Chief Special Master’s decision and the

Court’s judgment award the following: a lump sum payment of $81,193.04, in the form of a

check payable to petitioner.1

                                                        Respectfully submitted,

                                                        BRIAN M. BOYNTON
                                                        Principal Deputy Assistant Attorney General

                                                        C. SALVATORE D’ALESSIO
                                                        Acting Director
                                                        Torts Branch, Civil Division

                                                        HEATHER L. PEARLMAN
                                                        Deputy Director
                                                        Torts Branch, Civil Division

                                                        LARA A. ENGLUND
                                                        Assistant Director
                                                        Torts Branch, Civil Division

                                                        /s/ Naseem Kourosh
                                                        NASEEM KOUROSH
                                                        Trial Attorney
                                                        Torts Branch, Civil Division
                                                        U.S. Department of Justice
                                                        P.O. Box 146, Benjamin Franklin Station
                                                        Washington, D.C. 20044-0146
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DATED: September 1, 2022




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.

                                                   2
